      Case 3:16-cr-00888-MMA                Document 71             Filed 09/14/16           PageID.194           Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                              FILED
                                                                                                                   SEP 14 2016
                                      UNITED STATES DISTRICT COUR1
                                         SOUTHERN DISTRICT OF CALIFORNIA                                       CLERK US DISTRICT COURT
                                                                                                       ~~THERN DISTRICiThr~LIFORNIA
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRI                 . . ..... A "Ii'    'l DEPUTY
                                 v.                                 (For Offenses Committed On or After November I, 1987)
            ROBERTO GUZMAN-GARCIA (2)
                                                                       Case Number:         16CR0888 MMA

                                                                    LEWIS MULLER
                                                                    Defendant's Attorney
REGISTRATION NO.                 55784298

D -
THE DEFENDANT:
[g] pleaded guilty to count(s)         TWO OF THE INDICTMENT

D   was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                         Count
Title & Section                   Nature of Offense                                                                    Numberfs)
8 USC 1324(a)(l)(A)(ii),          Transportation of Certain Aliens for Financial Gain and Aiding                           2
(v)(II) and (a)(l)(B)(i)          and Abetting




    The defendant is sentenced as provided in pages 2 through                 2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

[g]   Count(s)   REMAINING                                    are         dismissed on the motion of the United States.

[g]   Assessment: $1 00.00 WAIVED



[g] No fine                D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    HON. MICHAEL M. ANELLO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                     16CR0888 MMA
      Case 3:16-cr-00888-MMA              Document 71        Filed 09/14/16       PageID.195        Page 2 of 2
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                ROBERTO GUZMAN-GARCIA (2)                                                Judgment - Page 2 of 2
CASE NUMBER:              16CR0888 MMA


                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D     at                            A.M.               on
                ----------------
       D     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D     on or before
       D     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on   _________________________ ro _____________________________

 at ______________________ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      16CR0888 MMA
